Case 1:23-cv-00405-JJM-PAS          Document 18       Filed 11/27/23      Page 1 of 1 PageID #:
                                           625



                      UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF RHODE ISLAND


JOHN ANTHONY CASTRO,
     Plaintiff,

        v.
                                                                     C.A. No. 23-405 JJM

SECRETARY OF STATE GREGG
AMORE and DONALD JOHN
TRUMP,
     Defendants.

                                          JUDGMENT

[ ] Jury Verdict. This action came before the Court for a trial by jury. The issues have been
tried and the jury has rendered its verdict.

[ X ] Decision by the Court. This action came to trial or hearing before the Court. The issues
have been tried or heard and a decision has been rendered.



IT IS ORDERED AND ADJUDGED:

       Judgment hereby enters for the Defendants Secretary of State Gregg Amore and
       Donald John Trump and against Plaintiff John Anthony Castro pursuant to the
       Text Order entered on November 27th, 2023 by this Court.


                                                            Enter:

                                                            /s/ Ryan H. Jackson
                                                            Deputy Clerk



Dated: November 27, 2023
